_Case 2:04-cv-02790-.]DB-dkv Document 17 Filed 07/22/05 Page 1 of 3 Page|D 31

Fii£o ' .
iN THE UNITED sTATEs DisrRicT coURT B`{ - D~‘-»-

FoR THE WESTERN DisTRicT oF TENNESSEE `
wEsTERN DivisioN 05 JUL 22 AH 9' ll |

DANNY EVANS,

 

Plaintiff,
v. No. 04-2790 B

GRINDER & HAISLIP
CONSTRUCTION,

Defendant.

 

SECOND ORDER DIRECTING PLAINT[FF TO EFFECT PROPER SERVICE
OF COMPLAINT

 

On March 23, 2005, the Defendant, Grinder & Haislip Construction ("Grinder") moved to
dismiss the complaint filed by mg _s_e Plaintiff, Danny L. Evans, for insufficient service pursuant to
Rules lZ(b)(4) and lZ(b)(S) ofthe Federal Rules of Civil Procedure (the "Federal Rules") or, in the
alternative, to quash Service. ln an order entered Apri`l 28, 2005, the Court denied the motion but
directed the Plaintiff, who had not responded thereto, "to effect proper service upon the Def`endant,
in accordance with the Federal Rules of Civil Procedure, within 30 days of the entry of` this order."
(Order Denying Def.‘s Mot. to Dismiss and Directing Pl. to Effect Proper Sei'vice at 2.) On June 10,
2005, the Defendant renewed its motion to dismiss, arguing that, although it received from the
Plaintif`f relevant documents filed in this matter, the complaint forwarded to it was not the same
complaint filed with the Court. Clearly, the "Complaint of Discrimination and Wrongful Dismissal,"
a copy of which Grinder has provided to the Court and which its representative claims in her
affidavit was received from the Plaintiff`, has not been filed in this matter. As was the case with the

previous motion to dismiss, the Plaintiff has not responded to the renewed motion, even though the

This document entered on the docket sheet in compliance
with Hu|e 58 and/or 79(3) FHCP on .» / 69

Case 2:04-cv-02790-.]DB-dkv Document 17 Filed 07/22/05 Page 2 of 3 Page|D 32

time for such response has expired.

First, if the Plaintiff wishes to amend his complaint, he must do so by making the appropriate
filings with the Court as are required by the Federal Rules. Second, he must serve on the Defendant
the last complaint filed and entered on the Court's docketl The Plaintiff is hereby DlRECTED to
effect proper service of the complaint upon Grinder as provided for herein within twenty (20) days
of the entry of this order. Evans is admonished that the service ordered herein must comply with the
Federal Rules. Moreover, the Plaintiff is once again cautioned that failure to heed the Court's
directives may result in dismissal of his lawsuit.

sw
iris so 0RDERED this Ll day ofiuiy, 2005.

 

.D NIEL BREEN `\
UN ED sTATEs DisTRiCT JUDGE

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 17 in
case 2:04-CV-02790 was distributed by faX, mail, or direct printing on
July 25, 2005 to the parties listed.

 

Danny L. Evans
1449 Gold Avenue
l\/lemphis7 TN 38103

W. Kerby Bowling
BOWLING & BOWLING
7936 Players Forest Dr.
l\/lemphis7 TN 38119

Charles W. Cavagnaro
BOWLING & BOWLING
7936 Players Forest Dr.
l\/lemphis7 TN 38119

Honorable J. Breen
US DISTRICT COURT

